
                                                                    



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-04-046-CV



IN RE R.W. ROGERS, SR. 							 &nbsp;&nbsp;RELATOR





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ORIGINAL PROCEEDING

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MEMORANDUM OPINION
(footnote: 1)
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The court has considered relator’s petition for writ of mandamus and is of the opinion that relief should be denied. &nbsp;Accordingly, relator’s petition for writ of mandamus is denied.



PER CURIAM





PANEL B:	DAUPHINOT, LIVINGSTON, and WALKER, JJ.



DELIVERED: February 12, 2004

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




